Case 1:97-cV-01261-.]DB-STA Document 216 Filed 07/27/05 Page 1 of 3 Page|D 145

lN THE UNITED STATES DISTRICT COURT

 

FOR THE WESTERN DISTRICT OF 'I`ENNESSEE j
EASTERN DIVISION Qg%,/;;EM if 6 lo

JAMIE HAMILTON, et ux., ) "i'@@{/`:Affpgt@

Piaintiffs § ;`A%Qt/ 57

,

v. i No. 97-1261 B/An /
GARY MYERS, et al., l

Defendants. §
and
GARY ARNETT, er al., )

Plaintiffs, §
v. § NO. 98-1263 B/An
GARY MYERS, et al., §

Defendaots. §

ORDER

 

The Court held a conference call for both of these matters on June 20, 2005. During the

conference call, counsel for all parties agreed that the Court should delay ruling on Defendant’s

Motion to Join until alter the parties attend a settlement conference before the Undersigned. lt is

therefore ORDERED that the parties shall submit a confidential pre-mediation statement to the

Court by August 16, 2005. The parties shall not be required to serve a copy of this statement on

Thts document entered

. on the docket she -
W“"H"'e$$and.'or_?g ta) Fncr= on "! un ° "a"°°

’a\\°

Case 1:97-cV-01261-.]DB-STA Document 216 Filed 07/27/05 Page 2 of 3 Page|D 146

opposing counsel.

IT IS SO ORDERED.

,____
. /A .¢-

S. THOMAS ANDERSON

UNITED STATES MAGISTRATE JUDGE

Date: 2(¢, PJD¢u"-d
} /

     

UNITE`D sTAETs DISTRICT OURT WESTERNDTISRIC oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 216 in
case l:97-CV-0126l Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

Charles H. Barnett

SPRAGINS BARNETT COBB & BUTLER
P.O. Box 2004

Jacl<son7 TN 38302--200

T. Larry Edrnondson
800 Broadway

3rd Floor

Nashville, TN 37203

Kim Koratsky

WYATT TARRANT & COl\/[BS
P.O. Box 775000

l\/lemphis7 TN 38177--500

Glen G. Reid

WYATT TARRANT & COl\/[BS
P.O. Box 775000

l\/lemphis7 TN 38177--500

Honorable .l. Breen
US DISTRICT COURT

